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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                         MISSOULA DIVISION

 LAUREN ASHLEY SMITH,
                                                CV 19–173–DLC
                    Plaintiff,

       vs.                                       ORDER

 CHASE JOSEPH RIPLEY, STATE
 OF MONTANA by and through the
 CHILD AND FAMILY SERVICES
 DIVISION OF THE MONTANA
 DEPARTMENT OF PUBLIC
 HEALTH AND HUMAN SERVICES,
 John Does 1-5, and Jane Does 6-10,

                    Defendants.

     Pursuant to the parties’ Stipulated Motion to Dismiss with Prejudice (Doc.

29), IT IS ORDERED that this action is DISMISSED WITH PREJUDICE, the

parties to bear their own costs and fees. IT IS FURTHER ORDERED that all

deadlines are VACATED, any pending motions are DENIED as moot, and the jury

trial set for May 17, 2021 is VACATED.

     DATED this 20th day of October, 2020.
